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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                                       CASE NUMBER:

THE TAMARISK RD. TRUST UDT 08/19/2020,
PROPER T VIEW INC.                                        5:23−cv−01886−SSS−SP
                                        PLAINTIFF(S)

       v.
MICHAEL J. PRIETO , et al.
                                                           NOTICE TO FILER OF DEFICIENCIES IN
                                                                ATTORNEY CASE OPENING
                                     DEFENDANT(S).




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See Local Rule 83−7.




Other Error(s):




                                                   Clerk, U.S. District Court

Dated: September 19, 2023                          By: /s/ Jeannine Tillman 213−894−2672
                                                      Deputy Clerk




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